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 5
     Attorney for Defendant
     MANUEL HERRERA
 6

 7
                            IN THE UNITED STATES MAGISTRATE COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                        )       No. CR-S-11-CR-296 WBS
                                                      )
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                                                      )
            Plaintiff,                                )       UNOPPOSED MOTION TO
12
                                                      )       TEMPORARILY RETURN DEFENDANT'S
     v.                                               )       PASSPORT FOR RENEWAL PURPOSES
13
                                                      )       AND [proposed] ORDER
     MANUEL HERRERA,                                  )
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                                                      )
                                                      )       Judge: Honorable Edmund F. Brennan
15          Defendant.                                )
                                                      )
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                                                      )
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19
            Defendant Manuel Herrera, by and through his undersigned defense counsel, hereby
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     respectfully requests this court order the clerk's office to return his now expired passport to him
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     so he can initiate and complete the renewal process. Once Mr. Herrera receives his "new"
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     passport, he will return the "new" passport to the clerk's office. (It is believed this process will
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     take four to six weeks.) Mr. Herrera has no immediate travel plans, but may wish to travel out of
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     the country to visit his family in Mexico at some point.
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            Government counsel was notified of this request and has no objection to the relief sought
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     herein. Mr. Herrera, after seven years on pretrial supervision without incident of any kind, was
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     recently "removed" from pretrial supervision. As such Pretrial Services was not consulted
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     regarding this request.


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 1

 2   Dated: June 13, 2018                      /S/ John R. Manning
                                                JOHN R. MANNING
 3
                                               Attorney for Defendant
 4                                             Manuel Herrera

 5   IT IS SO ORDERED,
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 7   Dated: June 13, 2018
 8
                                               Hon. EDMUND F. BRENNAN
 9                                             United States Magistrate Judge

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